

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-67,247-01






KEITH WAGNER, Relator


v.


 174th JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NOS. 826954-A; 826955-A; 826956-A
			

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed applications for writs of habeas corpus in
the 174th  Judicial District Court of Harris County, that more than 35 days have elapsed, and that the
applications have not yet been forwarded to this Court. Relator contends that the district court
entered an order designating issues on August 26, 2005.

	 In these circumstances, additional facts are needed.  The respondent, the judge of the 174th 
District Court of Harris County, is ordered to file a response with this Court by having the District
Clerk submit the records on such habeas corpus applications or by setting out the reasons that no
findings have been made since the order designating issues was entered.  This application for leave
to file a writ of mandamus will be held in abeyance until the respondent has submitted the
appropriate response.  Such response shall be submitted within 30 days of the date of this order.


Filed: May 2, 2007

Do not publish	


